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                                                                  ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                  DOC #:
SOUTHERN DISTRICT OF NEW YORK
                                                                  DATE FILED: 10/21/2020
 IN RE BERNARD L. MADOFF
 INVESTMENT SECURITIES LLC


 IRVING H. PICARD,
                                                          1:20-cv-04767-MKV
                          Plaintiff,
                                                                ORDER
                   -against-

 ANDREW M. GOODMAN,

                          Defendant.

MARY KAY VYSKOCIL, United States District Judge:

       On June 22, 2020, Defendant Andrew M. Goodman filed a Motion to Withdraw the

Bankruptcy Reference [ECF No. 1]. To date, no opposition has been filed. Accordingly, IT IS

HEREBY ORDERED that any opposition to Defendant’s Motion to Withdraw the Reference must

be filed on or before November 11, 2020.



SO ORDERED.
                                                _________________________________
Date: October 21, 2020                          MARY KAY VYSKOCIL
      New York, NY                              United States District Judge
